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 1                                                              The Honorable Robert S. Lasnik
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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8
                                        AT SEATTLE
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     UNITED STATES OF AMERICA,                                 NO. 2:18-MC-00060-RSL
11
                               Plaintiff,                            (2:01-CR-0325-1)
12
             vs.                                               Order Terminating
13                                                             Garnishment Proceeding
     GEORGE LAVELL FROST,
14
              Defendant/Judgment Debtor,
15
           and
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     CONTACT SKILLS INC.,
17
                               Garnishee.
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19          This matter came before the Court on the United States’ Application to
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     Terminate Garnishment Proceeding. For the reasons stated in the United
21
     States’ Application, the Court concludes that this Garnishment should be
22
     terminated, pursuant to 28 U.S.C. § 3205(c)(10)(A).
23
24          IT IS ORDERED that the garnishment is terminated and that Contact

25   Skills Inc. is relieved of further responsibility pursuant to this garnishment.
26
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27
28


     ORDER TERMINATING GARNISHMENT PROCEEDING                                     UNITED STATES ATTORNEY’S OFFICE
                                                                                   700 STEWART STREET, SUITE 5220
     (USA v .George Lavell Frost and Contact Skills Inc., USDC#: 2:18-MC-00060-           SEATTLE, WA 98101
     RSL/2:01-CR-0325-1)1                                                                 PHONE: 206-553-7970
             Case 2:18-mc-00060-RSL Document 14 Filed 09/25/20 Page 2 of 2



 1          Dated this 25th day of September, 2020.
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 3
                                       JUDGE ROBERT S. LASNIK
 4                                     UNITED STATES DISTRICT COURT JUDGE

 5
 6   Presented by:

 7   s/ Kyle A. Forsyth
     KYLE A. FORSYTH, WSBA # 34609
 8   Assistant United States Attorney
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     ORDER TERMINATING GARNISHMENT PROCEEDING                                     UNITED STATES ATTORNEY’S OFFICE
                                                                                   700 STEWART STREET, SUITE 5220
     (USA v .George Lavell Frost and Contact Skills Inc., USDC#: 2:18-MC-00060-           SEATTLE, WA 98101
     RSL/2:01-CR-0325-1)2                                                                 PHONE: 206-553-7970
